         Case 1-18-01099-nhl          Doc 12      Filed 02/11/19      Entered 02/11/19 09:11:15




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

WIDMARCK PAUL,
                                                                     Chapter 7
                                                                     Case No. 17-40017 (nhl)
                                    Debtor.
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WIDMARCK PAUL,

                                   Plaintiff,                        Adv. Pro. No. 18-01099 (nhl)

                 -against-

BANCO POPULAR NORTH AMERICA,


                                    Defendant.
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                      ORDER GRANTING THE DEFENDANT’S MOTION
                       TO DISMISS THE ADVERSARY PROCEEDING

          Upon the motion (the “Motion”) of Banco Popular North America n/k/a Popular Bank (the

“Defendant”), by and through its counsel, Ellen M. Walker & Associates, P.C., filed on October

25, 2018, seeking an order dismissing the instant adversary proceeding (the “Adversary

Proceeding”) commenced by Widmarck Paul (the “Plaintiff”); and due notice having been

provided; and a hearing on the Motion having been held on January 22, 2019 (the “Hearing”), at

which appeared Raymond J. Cardinali (Counsel to Defendant), Aaron Ward (Counsel to Plaintiff),

and the Plaintiff; and opposition to the Motion having been overruled at the Hearing; and upon the

record of the Hearing, which is incorporated herein by reference; and after due deliberation and

sufficient cause appearing therefor; it is hereby
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    ORDERED, that Motion is granted to the extent set forth herein; and it is further

    ORDERED, that the Adversary Proceeding is dismissed in its entirety.




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Dated: February 11, 2019                                       Nancy Hershey Lord
       Brooklyn, New York                                 United States Bankruptcy Judge
